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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                   CASE NO. 18-69002-JWC

 CHARLES ANTONIO CROFF,                                   CHAPTER: 7

                Debtor.                                   JUDGE: JEFFERY W. CAVENDER

 WELLS FARGO BANK, N.A. ,                                 CONTESTED MATTER

                Movant,
 v.

 CHARLES ANTONIO CROFF, Debtor
 S. GREGORY HAYS, Trustee,

                Respondent(s).


                                     NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Movant named above has filed a Motion for Relief
from the Automatic Stay and related papers with the Court seeking an Order Granting Relief from
the Automatic Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1203, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303, at
10:00 A.M., on September 9, 2021.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file a
written response, you must attach a certificate stating when, how, and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the Clerk
at least two business days before the hearing. The address of the Clerk’s Office is: Clerk, U.S.
Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340, Atlanta, GA 30303. You must also mail
a copy of your response to the undersigned at the address stated below.

         If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot be
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rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period. Movant consents to the automatic
stay remaining in effect until the Court orders otherwise.

        Given the current public health crisis, hearings may be telephonic only. Please check the
“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top
of the GANB Website prior to the hearing for instructions on whether to appear in person or by
phone.



                                                      Brian K. Jordan, Bar No.: 113008
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                                      CASE NO. 18-69002-JWC

 CHARLES ANTONIO CROFF,                                      CHAPTER: 7

                 Debtor.                                     JUDGE: JEFFERY W. CAVENDER

 WELLS FARGO BANK, N.A.,                                     CONTESTED MATTER

                 Movant,
 v.

 CHARLES ANTONIO CROFF, Debtor
 S. GREGORY HAYS, Trustee,

                 Respondent(s).


                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY

If the debtor has been negatively impacted by COVID-19, the debtor may contact Wells Fargo Home Mortgage to
discuss a personalized solution at 1-800-274-7025. Written attorney consent may be required to speak
directly with the debtor about these options.

        COMES NOW Movant named above and shows this Court the following:

       1.       This Motion is made pursuant to Section 362(d) of the Bankruptcy Code for relief

from the automatic stay for all purposes allowed by law and the contract between the parties,

including, but not limited to, the Acknowledgment and Waiver of Borrower’s Rights contained in

a certain Security Deed, a copy of which is attached hereto and made a part hereof.

       2.       Movant is the holder or the servicer of a loan secured by certain real property in

which the Debtor has an interest. Said real property is security for a Promissory Note, and is

commonly known as 4845 Price Street, Forest Park, Georgia 30297.
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      3.       Terms of the Debt Agreement were amended by a loan modification Agreement

entered into by and between Wells Fargo Bank, N.A. and the Debtor dated February 21, 2013 (the

“Loan Modification Agreement”)..

      4.       There has been a default in payment of the monthly installments required pursuant

to the Promissory Note. As of July 26, 2021, three (3) payments have been missed.

      5.       The unpaid principal balance is $119,442.81, and interest is due thereon in

accordance with the Promissory Note. Movant’s total claim is approximately $120,595.52.

      6.       Because there may be little or no value in the property over the amount owed on

the property, Movant is not adequately protected and should be permitted to proceed under

applicable non-bankruptcy law to enforce its remedies to obtain possession of the Property.

      7.       Because there may be little or no equity in the property which could benefit the

estate, the Trustee’s interest should be abandoned.

      8.       Movant shows that the provisions of Bankruptcy Rule 4001(a)(3) should be waived.

       WHEREFORE, Movant prays for an Order lifting the automatic stay, authorizing it to

proceed under applicable non-bankruptcy law to enforce its remedies to obtain possession of the

Property. Movant also prays that the provisions of Bankruptcy Rule 4001(a)(3) be waived, and for

such other and further relief as is just and equitable.




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

  IN RE:                                                Case No. 18-69002-JWC

  CHARLES ANTONIO CROFF,                                Chapter 7

                  Debtor.


                                   CERTIFICATE OF SERVICE

   This is to certify that on this day I electronically filed the foregoing Notice of Hearing and

Motion for Relief from the Automatic Stay using the Bankruptcy Court’s Electronic Case Filing

program, which sends a notice of this document and an accompanying link to this document to the
following parties who have appeared in this case under the Bankruptcy Court’s Electronic Case
Filing program:

 Shannon Charlmane Worthy                             S. Gregory Hays
   I further certify that on this day I caused a copy of this document to be served via United States
First Class Mail, with adequate postage prepaid on the following parties set forth below at the

address shown for each.

 Charles Antonio Croff
 4845 Price Street
 Forest Park, GA 30297

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.
 Dated: August 9, 2021
                                                Brian K. Jordan, Bar No.: 113008
                                                Attorney for Movant
                                                Aldridge Pite, LLP
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